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 1                                                               8/24/2018
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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                   EASTERN DIVISION
11     XOCHITL HERNANDEZ, CESAR                    Case No.: 5:16-cv-00620 JGB (KKx)
12     MATIAS, for themselves and on behalf
       of a class similarly-situated individuals
13
                                                   (JAMS Ref. No. 1220059390)
14
                    Plaintiffs-Petitioners,
15                                                 [PROPOSED] ORDER
             v.                                    APPROVING STIPULATION TO
16                                                 AMEND DISCOVERY ORDER,
17     JEFFERSON B. SESSIONS III,                  DOCKET NO. 195
       U.S. Attorney General, et al.,
18
19                  Defendants-Respondents.
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 1                                   [PROPOSED] ORDER
 2           For good cause shown, IT IS ORDERED that the Parties’ STIPULATION
 3     TO AMEND DISCOVERY ORDER, DOCKET NO. 195 is APPROVED.
 4           IT IS HEREBY ORDERED that Paragraph 6 of the DISCOVERY ORDER
 5     RE DEFENDANTS’ COMPLIANCE WITH DOCKET NO. 129, Dkt. No. 195, is
 6     amended to strike “DOJ’s Thomas Y.K. Fong” and substitute Judge Rooyani and
 7     Judge Laurent in his place.
 8           IT IS FURTHER ORDERED that the time period specified in Paragraph 6
 9     of the DISCOVERY ORDER RE DEFENDANTS’ COMPLIANCE WITH
10     DOCKET NO. 129, Dkt. No. 195, is amended as follows:
11                  Custodial or                       Time Periods*
               Non-Custodial Source
12
           ERO’s Policy Library             January 1, 2016 - February 12, 2018
13         ERO’s Taskings Mailbox           January 1, 2016 - December 15, 2017
14         ERO’s Policy Mailbox             January 1, 2016 - January 3, 2018
           OPLA OCC LA’s Share Drive        January 1, 2016 - March 1, 2018
15
           OPLA OCC’s SharePoint Site       January 1, 2016 - March 1, 2018
16         OPA OCC LA’s SharePoint Site     January 1, 2016- February 26, 2018
17         Judge Rodin Rooyani              January 1, 2016 - January 1, 2018
           Judge Scott D. Laurent           November 27, 2017 - July 10, 2018
18
19     *All ending dates are approximate.
20
21     DATED: August 24, 2018
22
23                                           _________________
                                            ______________________________
                                            Hon.
                                             on Rosalyn MM. Cha
                                                            Chapman (Ret.)
24
                                            Special Master
25
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27
28
